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                                                                    Document     Page 8 of 54
 Fill in this information to identify your case and this filing:

 Debtor 1                  Frank Roach
                           First Name                     Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing)       First Name                     Middle Name                  Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number                                                                                                                                     Check if this is an
                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
    Yes.      Where is the property?

 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
    Yes

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                    $0.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                          Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.        Describe.....
                                        furniture                                                                                                           $600.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
     Yes.       Describe.....


Official Form 106A/B                                                    Schedule A/B: Property                                                                  page 1
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 Debtor 1          Roach, Frank                                                                                             Case number (if known)

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.       Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.       Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            wearing apparel                                                                                                          $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                              $1,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
    No
     Yes........................                                                                Institution name:

18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                             Institution or issuer name:


Official Form 106A/B                                                                     Schedule A/B: Property                                                          page 2
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 Debtor 1        Roach, Frank                                                                                 Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                            % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                        Type of account:                   Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......



Official Form 106A/B                                                  Schedule A/B: Property                                                                page 3
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 Debtor 1        Roach, Frank                                                                                               Case number (if known)

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                                 Surrender or refund
                                                                                                                                                              value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................                   $0.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.    Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.    Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                  $0.00




Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 4
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 Debtor 1         Roach, Frank                                                                                                          Case number (if known)

 Part 8:         List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................                   $0.00
 56. Part 2: Total vehicles, line 5                                                                                 $0.00
 57. Part 3: Total personal and household items, line 15                                                        $1,000.00
 58. Part 4: Total financial assets, line 36                                                                        $0.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $1,000.00             Copy personal property total           $1,000.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $1,000.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 5
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 Fill in this information to identify your case:

 Debtor 1                     Frank Roach
                              First Name                  Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)          First Name                  Middle Name                      Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                  portion you own
                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B

      furniture                                                                                                                  735 ILCS 5/12-1001(b)
      Line from Schedule A/B: 6.1
                                                                        $600.00                                     $600.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

      wearing apparel                                                                                                            735 ILCS 5/12-1001(a)
      Line from Schedule A/B: 11.1
                                                                        $400.00                                     $400.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                  Frank Roach
                           First Name                     Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                     Middle Name               Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                          amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?

      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.




Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                  Frank Roach
                           First Name                       Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                          Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
        Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          01 Reynolds Towing Service                             Last 4 digits of account number         3396                                                       $2,879.00
              Nonpriority Creditor's Name
                                                                     When was the debt incurred?             Unknown
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
               Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                            Disputed
               At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                Student loans
              debt                                                    Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                  Other. Specify      Open account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 11
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 4.2      11 Wow Internet Cable Phone 1                             Last 4 digits of account number       1013                                              $361.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?           Unknown
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Open account


 4.3      Arrow Ambulance LLC                                       Last 4 digits of account number       7394                                              $137.00
          Nonpriority Creditor's Name
          c/o H&R Accounts                                          When was the debt incurred?           2015-08
          PO Box 672
          Moline, IL 61266-0672
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      ambulance service


 4.4      At T                                                      Last 4 digits of account number       5575                                             $1,397.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2016-04
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Open account




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 11
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 4.5      AT&T                                                      Last 4 digits of account number       3074                                              $311.00
          Nonpriority Creditor's Name
          c/o Midland Bankruptcy Departm                            When was the debt incurred?           2015-07
          5407 Andrews Hwy
          Midland, TX 79706
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Open account


          City of Chicago Department of
 4.6      Finance                                                   Last 4 digits of account number       5430                                              $100.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 88292
          Chicago, IL 60680-1292
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      ambulance service


 4.7      CITY OF CHICAGO EMS                                       Last 4 digits of account number       9209                                             $1,834.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          33589 Treasury Ctr
          Chicago, IL 60694-3500
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      ambulance service




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 4.8      Comcast Cable Communications                              Last 4 digits of account number       7687                                              $101.00
          Nonpriority Creditor's Name
          c/o Enhansed Recovery                                     When was the debt incurred?           2015-12
          8014 Bayberry Rd
          Jacksonville, FL 32256-7412
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Open account


 4.9      Connect America                                           Last 4 digits of account number       3481                                              $689.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 782383
          Philadelphia, PA 19178-2383
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      revorving charge


 4.10     Consumer Cellular                                         Last 4 digits of account number       9596                                              $197.00
          Nonpriority Creditor's Name
          c/o Professional Credit                                   When was the debt incurred?           2014-03
          400 International Way
          Springfield, OR 97477-7002
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Open account




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 4.11     Dollar General 09550                                      Last 4 digits of account number       6148                                               $37.00
          Nonpriority Creditor's Name
          c/o Trident Asset Management                              When was the debt incurred?           2013-12
          53 Perimeter Ctr E
          Atlanta, GA 30346-2294
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Open account


 4.12     Gatewyfinsol                                              Last 4 digits of account number       0001                                         $14,707.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2012-08-09
          PO Box 3257
          Saginaw, MI 48605-3257
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      judgment 13 M1- 134469


          Hudson's & Field's Employees
 4.13     Credit Un                                                 Last 4 digits of account number                                                        $1,549.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Judgment account




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 4.14     MEA-INGALLS                                               Last 4 digits of account number       16N1                                              $854.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2014-10
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      hospital bills


 4.15     MEA-INGALLS                                               Last 4 digits of account number       87N1                                              $843.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2014-10
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      hospital bills


 4.16     Paholke Arelene M                                         Last 4 digits of account number       3412                                             $3,500.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify




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 4.17     Radiology Imaging Consultants, SC                         Last 4 digits of account number       CORI                                              $310.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          75 Remittance Dr
          Chicago, IL 60675-1001
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      medical bills


 4.18     The Kroger Co                                             Last 4 digits of account number       9192                                               $79.00
          Nonpriority Creditor's Name
          c/o Meade & Ass.                                          When was the debt incurred?           2014-04
          737 Enterprise Dr
          Westerville, OH 43081
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Unknown account


 4.19     The Kroger Co                                             Last 4 digits of account number       9193                                               $50.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2014-04
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Unknown account




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 4.20      Turner Acceptance Crp                                    Last 4 digits of account number       1359                                               $1,242.00
           Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2010-09
           5900 Howard St
           Skokie, IL 60077-2627
           Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                            Contingent
            Debtor 2 only                                           Unliquidated
            Debtor 1 and Debtor 2 only                              Disputed
            At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                  Student loans
           debt                                                      Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                          report as priority claims
           No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                    Other. Specify      Installment account

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Arnold Scott Harris, P.C                                    Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 111 W Jackson Blvd Ste 600                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60604-3517
                                                             Last 4 digits of account number                  9209
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 BYL Collection Services, LLC                                Line 4.9 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 569                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Malvern, PA 19355-0569
                                                             Last 4 digits of account number                  3481
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Commonwealth Financial                                      Line 4.14 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 245 Main St                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Dickson City, PA 18519-1641
                                                             Last 4 digits of account number                  16N1
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Commonwealth Financial                                      Line 4.15 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 245 Main St                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Dickson City, PA 18519-1641
                                                             Last 4 digits of account number                  87N1
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Commonwealth Financial Systems                              Line 4.14 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 245 Main St                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Dickson City, PA 18519-1641
                                                             Last 4 digits of account number                  16N1
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Commonwealth Financial Systems                              Line 4.15 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 245 Main St                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Dickson City, PA 18519-1641
                                                             Last 4 digits of account number                  87N1
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 COOK COUNTY, ILLINOIS - 1ST                                 Line 4.13 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 MUNICIPAL DI                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
                                                             Last 4 digits of account number



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 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Management, Lp                                       Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 118288
 Carrollton, TX 75011-8288
                                                             Last 4 digits of account number                    1013
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Mgmt                                                 Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 4200 International Pkwy                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Carrollton, TX 75007-1912
                                                             Last 4 digits of account number                    1013
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Service of Oregon                                    Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 1208                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Roseburg, OR 97470-0306
                                                             Last 4 digits of account number                    9596
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Enhanced Recovery Co L                                      Line 4.4 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 8014 Bayberry Rd                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32256-7412
                                                             Last 4 digits of account number                    5575
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Enhanced Recovery Co L                                      Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 8014 Bayberry Rd                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32256-7412
                                                             Last 4 digits of account number                    3074
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Enhanced Recovery Co L                                      Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 8014 Bayberry Rd                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32256-7412
                                                             Last 4 digits of account number                    7687
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Erc/Enhanced Recovery Corp                                  Line 4.4 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 8014 Bayberry Rd                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32256-7412
                                                             Last 4 digits of account number                    5575
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Erc/Enhanced Recovery Corp                                  Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 8014 Bayberry Rd                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32256-7412
                                                             Last 4 digits of account number                    3074
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Erc/Enhanced Recovery Corp                                  Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 8014 Bayberry Rd                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32256-7412
                                                             Last 4 digits of account number                    7687
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 H & R Accounts Inc                                          Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 7017 John Deere Pkwy                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Moline, IL 61265-8072
                                                             Last 4 digits of account number                    7394
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 H & R Accounts, Inc                                         Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 672                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Moline, IL 61266-0672
                                                             Last 4 digits of account number                    7394
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?

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 Meade & Associates                                          Line 4.18 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 737 Enterprise Dr                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Westerville, OH 43081
                                                             Last 4 digits of account number                      9192
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Meade & Associates                                          Line 4.18 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 737 Enterprise Dr                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Lewis Center, OH 43035-9436
                                                             Last 4 digits of account number                      9192
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Meade & Associates                                          Line 4.19 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 737 Enterprise Dr                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Westerville, OH 43081
                                                             Last 4 digits of account number                      9193
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Meade & Associates                                          Line 4.19 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 737 Enterprise Dr                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Lewis Center, OH 43035-9436
                                                             Last 4 digits of account number                      9193
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Midstatecoll                                                Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 3292                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Champaign, IL 61826-3292
                                                             Last 4 digits of account number                      3396
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Professional Credit SE                                      Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 400 International Way                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Springfield, OR 97477-7002
                                                             Last 4 digits of account number                      9596
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Trident Asset Manageme                                      Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 53 Perimeter Ctr E Ste 4                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30346-2294
                                                             Last 4 digits of account number                      6148
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Trident Asset Management                                    Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 888424                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30356-0424
                                                             Last 4 digits of account number                      6148

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                          0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                          0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                          0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                          0.00

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                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                           $              31,177.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.     $              31,177.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 11 of 11
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                                                                    Document     Page 26 of 54
 Fill in this information to identify your case:

 Debtor 1                  Frank Roach
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules.      You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                      Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Frank Roach
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                      Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Frank Roach

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS, EASTERN
                                              DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                  Not employed                                Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student or Employer's address
       homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00     $               N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00            $         N/A




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1    Roach, Frank                                                                            Case number (if known)



                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $              0.00     $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               N/A
      5e.    Insurance                                                                       5e.        $              0.00     $               N/A
      5f.    Domestic support obligations                                                    5f.        $              0.00     $               N/A
      5g.    Union dues                                                                      5g.        $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $                  0.00     $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00     $               N/A
      8b. Interest and dividends                                                             8b.        $              0.00     $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00     $               N/A
      8d. Unemployment compensation                                                          8d.        $              0.00     $               N/A
      8e.    Social Security                                                                 8e.        $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:     disability                                                         8f.  $            2,345.00   $                     N/A
      8g. Pension or retirement income                                                       8g. $                 0.00   $                     N/A
      8h. Other monthly income. Specify:                                                     8h.+ $                0.00 + $                     N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $          2,345.00         $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            2,345.00 + $              N/A = $          2,345.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $          2,345.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                          page 2
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Fill in this information to identify your case:

Debtor 1              Frank Roach                                                                            Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS,                                             MM / DD / YYYY
                                          EASTERN DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s       Does dependent
                                                                                                                                         live with you?

      Do not state the                                                                                                                    No
      dependents names.                                                            spouse                               50               Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                           310.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                             0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                             0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Roach, Frank                                                                              Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              200.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                 0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              400.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              400.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              100.00
10.   Personal care products and services                                                      10. $                                               100.00
11.   Medical and dental expenses                                                              11. $                                               800.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               100.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                 0.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                               400.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                                 0.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       2,810.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       2,810.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               2,345.00
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              2,810.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -465.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                   Frank Roach
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $                1,000.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $                1,000.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $                      0.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $              31,177.00


                                                                                                                                     Your total liabilities $                    31,177.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                2,345.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                2,810.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.

 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 Debtor 1     Roach, Frank                                                                   Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                           $         2,345.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                    $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $              0.00

       9d. Student loans. (Copy line 6f.)                                                                  $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$              0.00


       9g. Total. Add lines 9a through 9f.                                                            $                 0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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   Arnold Scott Harris, P.C
   111 W Jackson Blvd Ste 600
   Chicago, IL 60604-3517


   Arrow Ambulance LLC
   c/o H&R Accounts
   PO Box 672
   Moline, IL 61266-0672


   AT&T
   c/o Midland Bankruptcy Departm
   5407 Andrews Hwy
   Midland, TX 79706


   BYL Collection Services, LLC
   PO Box 569
   Malvern, PA 19355-0569


   City of Chicago Department of Finance
   PO Box 88292
   Chicago, IL 60680-1292


   CITY OF CHICAGO EMS
   33589 Treasury Ctr
   Chicago, IL 60694-3500


   Comcast Cable Communications
   c/o Enhansed Recovery
   8014 Bayberry Rd
   Jacksonville, FL 32256-7412
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   Commonwealth Financial
   245 Main St
   Dickson City, PA 18519-1641


   Commonwealth Financial Systems
   245 Main St
   Dickson City, PA 18519-1641


   Connect America
   PO Box 782383
   Philadelphia, PA       19178-2383


   Consumer Cellular
   c/o Professional Credit
   400 International Way
   Springfield, OR 97477-7002


   Credit Management, Lp
   Attn: Bankruptcy
   PO Box 118288
   Carrollton, TX 75011-8288


   Credit Mgmt
   4200 International Pkwy
   Carrollton, TX 75007-1912


   Credit Service of Oregon
   PO Box 1208
   Roseburg, OR 97470-0306
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   Dollar General 09550
   c/o Trident Asset Management
   53 Perimeter Ctr E
   Atlanta, GA 30346-2294


   Enhanced Recovery Co L
   8014 Bayberry Rd
   Jacksonville, FL 32256-7412


   Erc/Enhanced Recovery Corp
   8014 Bayberry Rd
   Jacksonville, FL 32256-7412


   Gatewyfinsol
   PO Box 3257
   Saginaw, MI 48605-3257


   H & R Accounts Inc
   7017 John Deere Pkwy
   Moline, IL 61265-8072


   H & R Accounts, Inc
   PO Box 672
   Moline, IL 61266-0672


   Meade & Associates
   737 Enterprise Dr
   Westerville, OH 43081
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   Meade & Associates
   737 Enterprise Dr
   Lewis Center, OH 43035-9436


   Midstatecoll
   PO Box 3292
   Champaign, IL        61826-3292


   Professional Credit SE
   400 International Way
   Springfield, OR 97477-7002


   Radiology Imaging Consultants, SC
   75 Remittance Dr
   Chicago, IL 60675-1001


   The Kroger Co
   c/o Meade & Ass.
   737 Enterprise Dr
   Westerville, OH 43081


   Trident Asset Manageme
   53 Perimeter Ctr E Ste 4
   Atlanta, GA 30346-2294


   Trident Asset Management
   PO Box 888424
   Atlanta, GA 30356-0424
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   Turner Acceptance Crp
   5900 Howard St
   Skokie, IL 60077-2627
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                                                                   B201B (Form 201B)     16-22706
                                                                                     (12/09)            Doc 1       Filed 07/15/16 Entered 07/15/16 08:25:29                          Desc Main
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                                                                                                                  United States Bankruptcy Court
                                                                                                             Northern District of Illinois, Eastern Division

                                                                   IN RE:                                                                                            Case No.
                                                                   Roach, Frank                                                                                      Chapter 7
                                                                                                              Debtor(s)

                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                   Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                    the Social Security number of the officer,
                                                                                                                                                                    principal, responsible person, or partner of
                                                                                                                                                                    the bankruptcy petition preparer.)
                                                                                                                                                                    (Required by 11 U.S.C. § 110.)
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                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                          Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   Roach, Frank                                                           X                                                            7/15/2016
                                                                   Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                   Case No. (if known)                                                    X
                                                                                                                                              Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
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B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                        Northern District of Illinois, Eastern Division
 In re       Roach, Frank                                                                                    Case No.
                                                                               Debtor(s)                     Chapter      7

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                    750.00
             Prior to the filing of this statement I have received                                       $                    750.00
             Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:
                   Debtor         Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor         Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 15, 2016
     Date                                                                     Michael R. Richmond
                                                                              Signature of Attorney
                                                                              Heller & Richmond, Ltd.

                                                                              33 N Dearborn St Ste 1907
                                                                              Chicago, IL 60602-3828
                                                                              (312) 781-6700 Fax: (312) 781-6732
                                                                              mrichmond@hellerrichmond.com
                                                                              Name of law firm




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